     Case 1:15-cr-00286-DAD-BAM Document 283 Filed 10/12/17 Page 1 of 2


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 6    Attorney for Defendant
      RAMSEY FARRAJ
 7
 8                                  IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11        UNITED STATES OF AMERICA,                      )   Case No. 1:15-cr-00286-DAD-BAM-3
                                                         )
12                          Plaintiff,                   )   AMENDED DEFENDANT’S MOTION TO
                                                         )   EXONERATE BOND; ORDER
13        vs.                                            )
                                                         )
14        RAMSEY FARRAJ,                                 )   Judge: Hon. Dale A. Drozd
                                                         )
15                          Defendant.                   )

16
17               On October 22, 2015, the Court ordered Mr. Ramsey Farraj released on his own

18    recognizance and ordered Mr. Farraj to post a secured bond with the Clerk’s Office in the

19    amount of $70,000.00 to permit his release. Mr. Farraj’s brother, Rami Farraj posted Mr.

20    Farraj’s property bond on October 22, 20151.

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24    ///

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      1
          Receipt number #0215147105. Deed number 147105, recorded on October 20, 2015, with sole trustor Rami Farraj.
     Case 1:15-cr-00286-DAD-BAM Document 283 Filed 10/12/17 Page 2 of 2


 1             Since no conditions of the bond remain to be satisfied, Mr. Farraj is now requesting that
 2    the $70,000 property bond be exonerated and returned to his brother pursuant to Rule 46(g) of

 3    the Federal Rules of Criminal Procedure.
 4                                                  Respectfully submitted,
 5
                                                    HEATHER E. WILLIAMS
 6                                                  Federal Defender
 7    Date: October 11, 2017                        /s/ Megan T. Hopkins
                                                    MEGAN T. HOPKINS
 8                                                  Assistant Federal Defender
                                                    Attorney for Ramsey Farraj
 9
10                                                  ORDER
11             The court finds that Ramsey Farraj has complied with the conditions of his bond and that

12    no conditions remain to be satisfied in that following his sentencing, the defendant surrendered
13    on September 27, 2017 to the designated Bureau of Prisons institution to begin serving his
14    sentence. The Clerk of the Court shall exonerate the property bond (#0215147105) in the above-

15    captioned case with the date of deed October 20, 2015 and return the property deed to Mr. Rami
16    Farraj, sole trustor. The court’s financial department shall contact the Federal Defender to obtain
17    Mr. Rami Farraj’s current address.

18
19    IT IS SO ORDERED.

20        Dated:         October 11, 2017
21                                                       UNITED STATES DISTRICT JUDGE

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       Farraj: Motion to Exonerate Bond;               -2-
       [Proposed] Order
